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                                    November 23, 2021
 VIA ECF

 The Honorable Tonianne J. Bongiovanni
 U.S. District Court for the District of New Jersey
 Clarkson S. Fisher Building & U.S. Courthouse
 402 East State Street
 Trenton, NJ 08608

        Re:    UMG Records, Inc., et al. vs. RCN Telecom Services, LLC, et al.
               Civil Action No. 19-17272-MAS-TJB

 Dear Judge Bongiovanni:

        This firm represents Defendants in the above-referenced matter. We write jointly
 on behalf of Defendants, Plaintiffs, and Counterclaim-Defendants Rightscorp, Inc. and
 Recording Industry Association of America (“RIAA”) to request a 30-day extension of: (1)
 the deadline to submit written discovery disputes (from November 30, 2021 to December
 30, 2021) and (2) the deadline for the close of fact discovery (from February 28, 2022 to
 March 30, 2022). See ECF No. 185. The Court has previously granted extensions of the
 aforementioned deadlines through ECF Nos. 150, 153, 157, 163, 181, and 185.

         The parties continue to work towards an informal resolution of the discovery issues
 identified in prior letters to the Court. This includes issues regarding privilege logs,
 supplemental discovery responses, and productions of responsive documents and data. The
 parties are actively meeting and conferring regarding these issues; however, a number of
 issues remain to be resolved. The parties agree that these extensions are necessary and
 appropriate to complete that process. Good cause exists for the requested extensions,
 which are not being sought for purposes of delay. Additionally, because there are no
 deadlines set by the Court beyond the close of fact discovery, the requested extensions will
 not affect any other deadlines in this action.

        For these reasons, the parties respectfully request that the above deadlines be
 extended as follows for good cause shown: (1) the deadline to submit written discovery
 disputes (from November 30, 2021 to December 30, 2021) and (2) the deadline for the
 close of fact discovery (from February 28, 2022 to March 30, 2022).
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        We have included a “So Ordered” provision at the end of this letter in the hope that
 these extensions are acceptable to the Court.


                                           Respectfully Submitted,

                                           /s/ Edward F. Behm, Jr.


 EFB:gc
 CC: All counsel of record via ECF



 The above Application is SO ORDERED this ___ day of November, 2021.

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 The Honorable Tonianne J. Bongiovanni
